Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 1 of 9 Page ID #:664



  1   JOHN NEIL McNICHOLAS, ESQ.
      CA Bar No.: 138304
  2   McNICHOLAS LAW OFFICE
      464 Palos Verdes Blvd.
  3   Redondo Beach, CA 90277
      (310) 545-0780
  4   (310) 546-6831- FAX
      john@mcnicholaslawoffice.com
  5   Attorney for Defendant,
      Aaron Eason
  6
  7                         UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA
  9
 10   UNITED STATES OF AMERICA,
                                                        Case No. CR 18-00759-CJC-4
 11                Plaintiff,
                                                       DEFENDANT’S REPLY TO
 12 vs.                                                GOVERNMENT OPPOSITION
                                                       TO HIS RELEASE PENDING
 13 AARON EASON,                                       TRIAL
 14                Defendant.
 15         Defendant, AARON EASON, by and through his attorney of record, John
 16 Neil McNicholas, hereby submits the following reply to the government’s opposition
 17 to his request to be released pending trial.       DATED this 27th day of December,
 18 2018.
 19
 20                                                    McNICHOLAS LAW OFFICE
 21
                                                       By /s/
 22                                                    JOHN NEIL McNICHOLAS, ESQ.
                                                       Attorney for Defendant,
 23                                                    AARON EASON
 24
 25
 26
 27
 28

                                                   1
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 2 of 9 Page ID #:665



  1                                   I. INTRODUCTION
  2          Prior to his arrest and detention on the instant charges two months ago,
  3 Aaron Eason was a law-abiding member of his community, the town of Anza, in the
  4 Central District of California. He was the sole provider for his teenage daughter. He
  5 also helped his father in maintaining the family property. Aaron Eason attended a
  6 San Diego event in March, 2017 that was peaceful. Eason attended the Huntington
  7 Beach event after that. Despite being struck in the face by Antifa-sprayed mace, he
  8 did not engage in fisticuffs at Huntington Beach.
  9          There were over a thousand people at the April 15, 2017 Berkeley free speech
 10 rally. Of the thousand or so people in attendance, twenty were arrested. Robert
 11 Rundo was the only defendant arrested that day. The majority of people arrested
 12 were left wing agitators wearing masks or carrying weapons. 1 The most obvious
 13 reason that a riot erupted at Berkeley was the lack of law enforcement presence in
 14 the streets when two huge groups began to clash. Aaron Eason’s presence in
 15 Berkeley did not cause the riot. Unquestionably, without Antifa’s efforts to silence
 16 free speech and assembly, by throwing M-80s, smoke bombs and other small
 17 exploding devices, there would not have been a riot at Berkeley on April 15, 2017.
 18 The only physical confrontations involving Aaron Eason in Berkeley on April 15,
 19 2017 commenced when he was attacked. See government Exhibit 11 and
 20 Defendant’s Exhibit 19 as well as Exhibit 13A-F in support of the opening brief.
 21 Aaron Eason attended another Berkeley rally only a few weeks later. Nobody
 22 affiliated with R.A.M. attended. It was peaceful. Perhaps that was because at this
 23 event, left wing groups and Antifa were ordered by police to remain across the street
 24
 25
 26
 27
      1
       https://www.berkeleyside.com/2017/04/17/exactly-turned-downtown-berkeley-battlefield-april-1
 28   5

                                                  2
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 3 of 9 Page ID #:666



  1 from the park where the right wingers were conducting their organized event. 2
  2             A few months later Eason went to an anti-Sharia event in San Bernardino.
  3 Although R.A.M. members were there, Eason was not affiliated with the group in
  4 any way, contrary to the government’s continuous assertion. Aaron Eason would like
  5 to be politically active and stated that in various social media posts referred to by the
  6 government. Aaron Eason has no intent to commit violent acts or otherwise violate
  7 laws in order to be politically active.
  8         II. AARON EASON IS NOT A DANGER TO THE COMMUNITY
  9         Mr. Eason and the government have laid out their positions on the nature
 10 and circumstances of the offenses charged. It is Eason’s opinion that he should not
 11 have been charged with a federal offense for his actions associated with his
 12 attendance at the various political rallies, speeches and marches. The weight of the
 13 evidence against Mr. Eason is only strong if the crime alleged is engaging in fisticuffs
 14 at one political event. But for the crimes charged in the indictment, the government
 15 is going after the wrong man. The history and characteristics Eason, including his
 16 character, physical and mental condition, family and community ties, employment,
 17 financial resources, past criminal conduct, and history relating to drug or alcohol
 18 abuse all weigh heavily in favor of his release. None of those factors were addressed
 19 by the magistrate judge at either hearing. The nature and seriousness of the danger
 20 to any person or the community that would be posed by the defendant's release are
 21 only relevant if the Court can link Mr. Eason’s thoughts and world views as allegedly
 22 written by him, to the intent to commit a serious and dangerous crime. 18 U.S.C. §
 23 3142(g). See United States v. Winsor, 785 F.2d 755, 757 (9th Cir. 1986); United States v.
 24 Motamedi, 767 F.2d 1403, 1407 (9th Cir.1985). United States v. Hir, 517 F.3d 1081,
 25 2008 WL 445840 (9th Cir., 2008).
 26
 27
            2
             https://www.washingtonpost.com/news/grade-point/wp/2017/04/27/theres-no-speech-pla
 28   nned-but-protesters-are-converging-on-berkeley-today/?utm_term=.b8806c67f40d

                                                  3
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 4 of 9 Page ID #:667



  1          The evidence introduced by the government provides some proof that Aaron
  2 Eason has anti-Semitic beliefs. There is also no doubt that co-defendant Robert
  3 Boman sought to share his anti-Semitic beliefs at the various political events which
  4 he attended as he constantly held a sign which read “Da Goyam Know.”3 Eason
  5 never carried that sign at any event. Eason did carry the American flag in San Diego.
  6 See Exhibit 20. There were no racial or anti-Semitic attacks at any of the events
  7 attended by Eason. Criminalizing someone’s thoughts or beliefs is not only
  8 unconstitutional, but dangerous to our existence as a nation.4 The government is not
  9 stopping with its censorship of the thoughts of white nationalist groups but is also
 10 targeting organizations which have, until the past few years, been considered main
 11 stream groups.5 Mr. Eason should not be detained because he may be considered
 12 anti-Semitic or racist.
 13          When vastly adverse political groups converge into a small area where one
 14 group (Eason’s group) actually has governmental permission to assemble and speak
 15 and another group which the government calls “counterprotestors” (but more
 16 commonly referred to as “Antifa”), does not have permission to be there, and its
 17 only purpose is to stifle the speech of Eason’s group “by any means necessary,”
 18 conflict is foreseeable.
 19
             3
 20            Goyim is the plural of goy which literally means “Nation” in Hebrew. James Orr, ed.
      (1939). "Goiim". International Standard Bible Encyclopedia. 2. Grand Rapids: William B. Eerdmans
 21   Publishing Company. OCLC 819295. The Hebrew word goy has for some time acquired the
      meaning "heathen." Therefore all “Gentiles" could be considered Goyim. See also Min, Shabot Goy.
 22   Jewish Encyclopedia.
             4
 23            It’s a venerable maxim of criminal jurisprudence that the state must never punish
      people for their mere thoughts—for their beliefs, desires, fantasies, and unexecuted intentions. Why
 24   is it Wrong to Punish Thought? Gabriel S . Mendlow, U. Mich. Law School Scholarship Repositiory,
      2018; https://repository.law.umich.edu/cgi/viewcontent.cgi?article=2996&context=articles.
 25
             5
               Only six days ago, two United States Senators on the Judiciary Committee, one being a
 26   serious contender for the Democratic Presidential nomination in 2020, attacked a United States
      District Judge candidate because he is a member of the Knights of Columbus, which those senators
 27   consider an extremist group because of the organization’s longstanding positions on issues like
      abortion and marriage. One Senator asked the candidate to renounce his membership if selected.
 28   https://www.theamericanconservative.com/dreher/democrats-knights-of-columbus/.

                                                      4
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 5 of 9 Page ID #:668



  1           The government refuses to use the word “ANTIFA” to describe the actual
  2 instigators of the various violent confrontations at hundreds of political events
  3 throughout the United States since prior to the 2016 presidential election. The
  4 humiliation and injuries caused to supporters of Donald Trump at various events in
  5 San Jose and San Diego, which included attacks on defenseless women, and later at
  6 the destruction caused at the Milo Yiannopoulos planned speech on the campus of
  7 the University of California, were horrible to witness. The government did not
  8 pursue riot act prosecutions of those instigators and agitators. On the other hand,
  9 the government seems to believe that carrying a sign which reads: DEFEND
 10 AMERICA is a crime worthy of prosecution. See government opposition brief,
 11 passim.
 12           Since the filing of the complaint in this matter, the government continues to
 13 embellish the actual facts to suit its narrative that Aaron Eason was planning a
 14 Charles Manson-like Helter Skelter race war. Examples of embellishment include
 15 Eason’s “pose” at Exhibit 13 where his face is not even in the photograph; and
 16 Exhibit 14, where the government attempts to mislead the court by inferring that
 17 Eason is wearing a mask when Eason never wore a mask or tape at any event that he
 18 attended. Finally, the government attributes random quotes on an open social media
 19 cite to Eason as if Eason had made those statements himself. Gov’t Opposition, 9:
 20 16-27.
 21           The government quotes an unnamed former associate who supposedly heard
 22 Daley refer to the April 15, 2017 Berkeley event as a “war.” Then the government
 23 bootstraps the comment to Eason as if Eason were the one calling it a war in the first
 24 place. Gov’t Opposition, pages 4-5. It is extremely important to note that Eason
 25 never brought sticks or shields to any event, including the 3-4 training sessions at a
 26 public park in San Clemente prior to April 15, 2017 which Eason attended. But the
 27 government continuously refers to “stick and shield training” in order to boost its
 28 argument that Eason is dangerous. It was Antifa that always appeared at organized

                                                 5
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 6 of 9 Page ID #:669



  1 conservative events in disguises and armed with actual weapons. 6 We have illustrated
  2 in our opening brief the damage and destruction physical harm caused by Antifa
  3 dating back to 2016.
  4         The government mischaracterizes Eason’s alleged “recruiting” of members
  5 and “handling logistics” at the Berkeley event. Government Opposition, 7:22-28.
  6 Aaron Eason was never a member or R.A.M. so he was hardly in a position to
  7 recruit. Eason traveled with co-defendants to Berkeley on April 15, 2017. He was
  8 actually working for the organizers of the Berkeley event and intends to prove that
  9 fact at trial. The only reason that he signed the van rental agreement was because no
 10 other person in the van was old enough to rent the van. The “R.A.M.” members
 11 were all in their 20's and lived near the beach. Most members had a host of personal
 12 problems associated with prior criminal convictions and addiction. Aaron Eason
 13 was not an addict. He was from the high desert. He was a single father in his late
 14 30's with a pre-teen daughter. Mr. Eason never had an adverse interaction with law
 15 enforcement. Aaron Eason simply did not fit the R.A.M. profile. When the
 16 organization formed in April 2017 according to Rundo, Mr. Eason was not part of
 17 the group.
 18         Then, despite easily verifiable evidence on the government’s own video at
 19 Exhibit 11, as well as defendant’s Exhibit 19, where an assailant attempts to attack
 20 Eason at Berkeley on April 15, 2017, the government acts as though Eason initiated
 21 the physical confrontation. Gov’t opposition, 8: 17-18.
 22         The evidence shows that Eason did not intend to fight anyone at San Diego
 23 or Huntington Beach. There is no doubt that certain individuals wanted to fight at
 24 Huntington Beach, and even more were willing to fight at Berkeley. The evidence
 25 shows Eason’s only actual fighting at Berkeley was in self defense. And although he
 26 attended the San Bernardino event, there is no evidence that he engaged in anything
 27
            6
 28             https://www.youtube.com/watch?v=kUu46J_OHQ4

                                                6
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 7 of 9 Page ID #:670



  1 unlawful. The evidence also reflects the fact that Eason was no longer associated
  2 with the remaining co-defendants or the Charlottesville defendants after April 15,
  3 2017. There were hundreds of people at the San Bernardino event on June 10, 2017.
  4 Daley, Rundo, and Miselis were not affiliated with Aaron Eason at that time.
  5         The most important fact to consider at this detention hearing, is that prior to
  6 March of 2017, Aaron Eason was never involved in any situations which would be
  7 considered violent or dangerous. Since April 15, 2017, he has not had a physical
  8 confrontation with anyone. The government has failed to prove that Eason is a
  9 danger, and for that reason, must be detained. 18 U.S.C. § 3142(f)(2)(B). United States
 10 v. Hir, 517 F.3d 1081, 2008 WL 445840 (9th Cir., 2008).
 11         III. EVEN IF EVIDENCE SHOWED THAT EASON POSED A
 12 THREAT TO THE COMMUNITY, EASON MUST BE RELEASED IF
 13 CONDITIONS CAN BE FASHIONED TO ENSURE THE SAFETY OF
 14 THE COMMUNITY.
 15         Mr. Eason is not dangerous. He is not a threat to the community. But even if
 16 the government were able to prove by a preponderance of evidence that he were
 17 dangerous or a threat to the community, there are an abundance of conditions which
 18 could be fashioned to reasonably assure that none of those possible threats could be
 19 a reality, and he must be released.
 20         Despite what the magistrate stated at government’s Exhibit 21 at 30, and in
 21 its opposition brief at page 14, there is extensive evidence that Eason was no longer
 22 affiliated with Daley’s group after Berkeley. Eason returned to Berkeley on April 27,
 23 2017 for the formerly scheduled Ann Coulter speech. Other speakers were present.
 24 None of the R.A.M. associates were with Mr. Eason. He was with other friends. The
 25 event was peaceful.
 26         The magistrate judge was mistaken to somehow relate the death at
 27 Charlottesville to Aaron Eason. The government was in a position to explain that
 28 fact to the magistrate but instead chose to remain silent. The individual who caused

                                               7
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 8 of 9 Page ID #:671



  1 that death had no connection to anyone allegedly associated with any of the subjects
  2 referred to in this case. Eason did nothing illegal at San Bernardino. The magistrate
  3 judge was mislead by the government’s misrepresentation that Eason was involved in
  4 vandalizing a vehicle in San Bernardino. Most importantly, in two separate bail
  5 hearings, the magistrate never addressed potential conditions which could be set in
  6 place to minimize the risk of danger to the community. Mr. Eason has described
  7 those conditions at length ion his opening brief.
  8         Regarding Brittney Welch, she testified that she knew Mr. Eason outside of
  9 the political events. She had been in his presence enough times on a social basis to
 10 know that he poses no threat or danger. The magistrate overlooked that important
 11 detail. The magistrate never considered letters from family members and employers
 12 who spoke of his high moral character and work ethic. Their opinions were not
 13 based upon scribblings buried in a notepad, but on real and genuine deeds on behalf
 14 of the community and his family.
 15         The government agreed to the release of the one defendant, Tyler Laube,
 16 who said that he was guilty of the charged offenses. That defendant, an ex felon,
 17 faces certain prison time. After he entered his guilty plea, the government agreed to
 18 his release. Mr. Eason is able to produce the same amount in bail resources as Mr.
 19 Laube. One has to ask why is Mr. Laube more suitable for release than Mr. Eason
 20 when Mr. Laube had already been convicted of a violent crime for which he was
 21 serving probation, and he actually attacked an innocent reporter in Huntington
 22 Beach. The government also represents that Mr. Eason potentially faces a higher
 23 sentencing guideline range without articulating what the basis is for a higher guideline
 24 range. The government cannot possible allege that Mr. Eason was a leader or
 25 organizer, when he was never a member of R.A.M. It would be completely
 26 unreasonable to force defendant to plead guilty to a felony in order for the defendant
 27 to be released from imprisonment. There were no weapons involved. He has no
 28 criminal history. Mr. Eason’s counsel reaffirms his belief that the advisory guideline

                                                8
Case 2:18-cr-00759-CJC Document 110 Filed 12/27/18 Page 9 of 9 Page ID #:672



  1 range if convicted does not justify the unreasonable detention ordered by the
  2 magistrate, which will eventually coerce him to admit to crime in which he is not
  3 guilty.
  4           The proposed condition that Mr. Eason not attend a white nationalist event
  5 was taken from Laube’s release order to which the government stipulated.
  6 [Document # 79]. According to ProPublica7 and other various news agencies, Aaron
  7 Eason is the only defendant in this case who is not an ex felon. All three co-
  8 defendants have prior felony convictions for violent offenses. Eason, meanwhile,
  9 despite being much older than all three co-defendants, was never arrested prior to
 10 this case. This is a major factor which the Court must consider in distinguishing
 11 Aaron Eason from all others accused in this case.
 12                                               IV. CONCLUSION
 13           Aaron Eason has proposed several workable conditions which will guarantee
 14 the safety of the community. Again, Aaron Eason’s most violent event was a fist
 15 fight where the objective video evidence shows that each time he acted in self
 16 defense. His associations and behavior can be easily controlled through proper
 17 monitoring.
 18
 19 DATED: December 27, 2018                             /s/
                                                          John Neil McNicholas
 20                                                       Attorney for Aaron Eason
 21
 22
 23
 24
 25
 26
 27
              7
 28               https://www.propublica.org/article/michael-miselis-rise-above-movement-white-supremacist-group-northrop-grumman;


                                                                   9
